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                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   August 25, 2021

Charles Burnham
BURNHAM & GOROKHOV PLLC
1424 K Street, NW
Suite 500
Washington, DC 20005


       Re:    United States v. Larry Brock
              Case No. 1:21-cr-00140-JDB

Dear Mr. Burnham:

        In accordance with Rule 16 of the Federal Rules of Criminal Procedure, and as otherwise
required by law (e.g., Brady v. Maryland, 373 U.S. 63 (1963), United States v. Giglio, 405 U.S.
150 (1972)), the Government has produced preliminary discovery through USAfx File no.
134638468690, which contains discovery divided into files named: Brock HIGHLY SENSITIVE
Materials, Brock SENSITIVE Materials, Brock Reports, Brock Facebook SW Return, Brock
Screenshots, Brock Court Documents, and Brock Capitol Video. This is all contained within a
larger folder entitled Brock Discovery 21CR140. Preliminary discovery was originally uploaded
to USAfx in this case on March 31, 2021, and was subsequently supplemented on May 16-27,
2021, June 2021, and August 2021.

       The following documents have been shared via USAfx in the June and August 2021
batches of preliminary discovery:

 Serial No.     Document/Video/Photo
                Brock Entry into Capitol Video 10:00 (HIGHLY SENSITIVE)
                Brock Exit Capitol 06:59 (HIGHLY SENSITIVE)
                Body Worn Camera (BWC) Video 24:48 Capitol Senate
                Brock Lower West Terrace 14:17 (HIGHLY SENSITIVE)
                Brock Upper West Terrace 19:51 (HIGHLY SENSITIVE)
                Brock Upper West Terrace Part 2 19:58 (HIGHLY SENSITIVE)
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 57              Brock TTK Review (SENSITIVE)
 57              Brock TTK Review Report (Redacted) (SENSITIVE)
 58              Brock TTK Review (SENSITIVE)
 58              Brock TTK Review Report (Redacted) (SENSITIVE)
 62              Brock TTK Review (SENSITIVE)
 62              Brock TTK Review Report (Redacted) (SENSITIVE)
 63              Brock TTK Review (SENSITIVE)
 63              Brock TTK Review Report (Redacted) (SENSITIVE)
 68              Brock TTK Review (SENSITIVE)
 68              Brock TTK Review Report (Redacted) (SENSITIVE)
 69              Brock TTK Review (SENSITIVE)
 69              Brock TTK Review Report (Redacted) (SENSITIVE)

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant disclose prior statements of any witnesses defendant intends to call to testify at any
hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.
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                                   Sincerely,


                                   /s/ April H. Ayers-Perez
                                   April H. Ayers-Perez
                                   Assistant United States Attorney




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